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                        IN THE UNITED STATES DISTRICT COURT
                                      DISTRICT OF UTAH


 UNITED STATES OF AMERICA,                         Case No. 2:21-CR-00520

        Plaintiff,
                                                         NOTICE OF WITHDRAWAL OF
          vs.                                                    COUNSEL

    BAVER et al.,
                                                   Judge Jill N. Parrish
        Defendants.


       PLEASE TAKE NOTICE that Assistant United States Attorney Aaron B. Clark is hereby

withdrawn as counsel for the Plaintiff in the above-entitled case.

       DATED this 21st day of December 2022.



                                                     TRINA A. HIGGINS
                                                     United States Attorney

                                                     /s/ Aaron B. Clark
                                                     AARON B. CLARK
                                                     Assistant United States Attorney
